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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                           )
                                                    )
                Plaintiff,                          )
                                                    )
       vs.                                          )      CRIMINAL No. 18-4176 JB
                                                    )
STERLING ISLANDS, et al.,                           )
                                                    )
                Defendants.                         )


             UNITED STATES’ MOTION FOR TWO-WEEK TIME EXTENSION
                TO FILE RESPONSE TO DEFENDANTS’ JOINT MOTION
                 TO DISMISS COUNT I OF THE INDICTMENT (Doc. 50)

       The United States respectfully requests a two-week extension of time within which to file

its response to Defendants’ Joint Motion to Dismiss Count I of the Indictment. See Doc. 50. The

United States needs additional time to research and respond to Defendants’ motion to dismiss.

The Assistant United States Attorneys assigned to this case have been occupied by other

investigations and cases, to include the trial of United States v. Raymond Moya, 15-CR-1889-

JCH. Those obligations have prevented the United States from completing its response in this

case. The United States needs an additional two weeks to accomplish that task. None of the

Defendants oppose this relief. Accordingly, the United States requests the Court extend the

United States’ response deadline to the joint motion to compel discovery for two-weeks, until

May 24, 2019.

                                                    Respectfully submitted,

                                                    JOHN C. ANDERSON
                                                    United States Attorney
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                                                   /s/
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 10th day of May, 2019, I filed the foregoing pleading
electronically through the CM/ECF system, which is designed to cause counsel of record for the
defendant to be served by electronic means.


                                                     /s/
                                                   KRISTOPHER N. HOUGHTON
                                                   Assistant U.S. Attorney
